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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA


DOGGIE DENTAL INC, et al.,                                      Civil Action No.

                               Plaintiffs,                           19-746

v.                                                              (Judge Hornak)

MAX_BUY, et al.,

                               Defendants.


     REQUEST FOR ENTRY OF DEFAULT AGAINST DEFENDANTS SERVED ON
                             JULY 14, 2019


To the Clerk of the U.S. District Court for the Western District of Pennsylvania

        You will please enter the default of the Defendants 4dice_international, ricji-45,

us2014.runzh, daos_34, gohastings, ljsuperiorchew, pege-318, raysal_64, and vestut-56 for

failure to plead or otherwise defend as provided by the Federal Rules of Civil Procedure as

appears from the Affidavit of Brian Samuel Malkin in Support of Request to Enter Default

hereto attached.

                                              Respectfully submitted,


Dated: October 18, 2019                       /s/ Brian Samuel Malkin
                                              Stanley D. Ference III
                                              Pa. ID No. 59899
                                              courts@ferencelaw.com

                                              Brian Samuel Malkin
                                              Pa. ID No. 70448
                                              bmalkin@ferencelaw.com

                                              FERENCE & ASSOCIATES LLC
                                              409 Broad Street
                                              Pittsburgh, Pennsylvania 15143
                                              (412) 741-8400 – Telephone
                                              (412) 741-9292 – Facsimile
                                              Attorneys for the Plaintiffs
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       AND NOW, this _____ DAY of ____________, 2019, pursuant to the request to

enter default and affidavit(s) filed, default is hereby entered against the above-named

Defendants for failure to plead or otherwise defend.



                                              ______________________________
                                              Clerk




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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA


DOGGIE DENTAL INC, et al.,                                         Civil Action No.

                              Plaintiffs,                               19-746

v.                                                                 (Judge Hornak)

MAX_BUY, et al.,

                              Defendants.



                 DECLARATION OF BRIAN SAMUEL MALKIN
     IN SUPPORT OF REQUEST TO ENTER DEFAULT AGAINST DEFENDANTS
                        SERVED ON JULY 14, 2019

       I caused the complaint and a summons in this action to be served on all of the Defendants

identified on the Request for Entry of Default on July 14, 2019; that the time within which such

Defendants may answer or otherwise move as to the complaint has expired; that such Defendants

have not answered or otherwise moved and that the time for such Defendants to answer or

otherwise move has not been extended.

       I declare under penalty of perjury that the foregoing is true and correct.

       Executed in Pittsburgh, Pennsylvania on October 18, 2019.


                                              /s/ Brian Samuel Malkin
                                                  Brian Samuel Malkin
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                              CERTIFICATE OF SERVICE


       I hereby certify that on October 18, 2019, the foregoing document is being filed via

the Case Management/Electronic Case Filing (CM/ECF) system; I also certify that a true and

correct copy of the foregoing is being served via email to the e-mail addresses at which

Defendants were served and/or via publication by posting a true and correct copy on the

website www.ferencelaw.com in accordance with the Order Authorizing Alternate Service.


                                             /s/ Brian Samuel Malkin
                                                 Brian Samuel Malkin
